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                      11
                                                       UNITED STATES DISTRICT COURT
                      12
                                                 SOUTHERN DISTRICT OF CALIFORNIA
                      13
                      14   KAWHI LEONARD,                           CASE NO. 19-cv-01035-BAS-BGS
                      15                  Plaintiff,                DEFENDANT NIKE, INC.’S
                                                                    NOTICE OF MOTION AND
                      16          v.                                MOTION TO TRANSFER VENUE
                      17   NIKE, INC.,                              Date: August 19, 2019
                                                                    NO ORAL ARGUMENT UNLESS
                      18                  Defendant.                REQUESTED BY THE COURT
                                                                    Courtroom: 4B
                      19                                            Judge: The Hon. Cynthia A. Bashant
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     S A N D I EG O                                                               MOTION TO TRANSFER VENUE
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                       1          TO ALL PARTIES AND THEIR COUNSEL OF RECORD
                       2          PLEASE TAKE NOTICE that on August 19, 2019, Defendant NIKE, Inc.
                       3   will and hereby does move this Court, located at 221 W. Broadway, San Diego,
                       4   California 92101, for an order transferring this action to the District of Oregon
                       5   pursuant to 28 U.S.C. 1404(a). This Motion is made following the conference of
                       6   counsel that took place on July 9, 2019.
                       7          The Motion should be granted because the parties knowingly and willingly
                       8   entered into a valid and enforceable forum selection agreement, which governs all
                       9   asserted claims, defenses, and counterclaims in this action, and which establishes a
                      10   court of competent jurisdiction in the State of Oregon as the exclusive venue to
                      11   adjudicate this dispute.
                      12          This Motion is made pursuant to Civil Local Rule 7.1, and is based on this
                      13   Notice of Motion and Motion, the accompanying Memorandum of Points and
                      14   Authorities, the supporting Declaration of Dinusha Welliver and Exhibits 1-3
                      15   thereto, all of which are served and filed herewith, Plaintiff’s Complaint and NIKE,
                      16   Inc.’s Answer and Counterclaims, and any argument of additional evidence that is
                      17   permitted by this Court.
                      18   Dated: July 17, 2019                             DLA PIPER LLP (US)
                      19
                                                                            /s/ Tamar Y. Duvdevani
                      20                                                    Stanley J. Panikowski
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